Case 2:17-cv-06848-DMG-PLA Document 105-4 Filed 11/30/20 Page 1 of 18 Page ID
                                 #:1281



  1
                           UNITED STATES DISTRICT COURT
  2                       CENTRAL DISTRICT OF CALIFORNIA
  3   CHRISTY PALMER, VARTAN                         Case No. 2:17-cv-06848
  4   PIROUMIAN, and EDWARD COX,
                                                     PLAINTIFFS’ FIRST SET OF
  5                                                  REQUESTS FOR PRODUCTION
                          Plaintiffs,
  6                                                  DIRECTED TO COGNIZANT
             v.                                      TECHNOLOGY SOLUTIONS
  7                                                  CORPORATION AND
  8                                                  COGNIZANT TECHNOLOGY
      COGNIZANT TECHNOLOGY                           SOLUTIONS U.S. CORPORATION
  9   SOLUTIONS CORPORATION and,
      COGNIZANT TECHNOLOGY
 10   SOLUTIONS U.S. CORPORATION,
                                                     CLASS ACTION
 11
                          Defendants.                Complaint Served: September 19, 2017
 12
                                                     Trial Date: Not set
 13
 14
 15
 16         Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and the
 17   Local Rules of this Court, Plaintiffs request that Defendants Cognizant Technology
 18
      Solutions Corporation and Cognizant Technology Solutions U.S. Corporation
 19
 20   (“Cognizant”) respond to each of the following requests for production of documents,

 21   and produce all responsive documents.
 22
                                         DEFINITIONS
 23
            As used herein, the following terms are defined as follows:
 24
 25         1.     “All” should be construed to include the collective as well as the singular
 26   and shall mean “each,” “any,” and “every.”
 27
            2.     “Any” shall be construed to mean “any and all.”
 28
                                                 1               Case No. 2:17-cv-6848-DMG-PLA
       PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS DIRECTED TO COGNIZANT
Case 2:17-cv-06848-DMG-PLA Document 105-4 Filed 11/30/20 Page 2 of 18 Page ID
                                 #:1282



            3.     “Communicate” or “communications” means without limitation, oral or
  1
  2   written communications of any kind, such as electronic communications, e-mails,
  3   facsimiles, telephone communications, correspondence, exchange of written or
  4
      recorded information, or face-to-face meetings. The phrase “communicate with” or
  5
  6   “communications with” is defined to include instances where one party addresses the

  7   other party but the other party does not necessarily respond.
  8
            4.     “Cognizant” means Cognizant Technology Solutions Corporation and
  9
      Cognizant Technology Solutions U.S. Corporation, and their predecessors, successors,
 10
 11   parents, subsidiaries, departments, divisions, joint ventures, affiliates, directors,
 12
      executives, and employees, including without limitation any organization or entity that
 13
      Cognizant manages or controls, together with all present and former directors, officers,
 14
 15   employees, attorneys, agents, representatives or any persons acting or purporting to
 16   act on behalf of Cognizant.
 17
            5.     “Document” means without limitation, the original and all non-identical
 18

 19
      copies of all items subject to discovery under Rule 34 of the Federal Rules of Civil

 20   Procedure. This definition includes, without limitation, letters, correspondence, e-
 21
      mail, memoranda, legal pleadings, calendars, diaries, travel records, summaries,
 22
      records of telephone conversations, recordings of calls and meetings (including
 23
 24   earnings calls), telegrams, notes, reports, compilations, notebooks, work papers,
 25   graphs, charts, blueprints, books, pamphlets, brochures, circulars, manuals,
 26
      instructions, ledgers, drawings, sketches, photographs, videotapes, audiotapes, film
 27
 28   and sound reproductions, sales, advertising and promotional literature, agreements,
                                                 2               Case No. 2:17-cv-6848-DMG-PLA
       PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS DIRECTED TO COGNIZANT
Case 2:17-cv-06848-DMG-PLA Document 105-4 Filed 11/30/20 Page 3 of 18 Page ID
                                 #:1283



      stored recordings, minutes or other records of meetings, all written or graphic records
  1
  2   or representations of any kind, and all mechanical or electronic data, records, or
  3   representations of any kind or description that are fixed in any medium upon which
  4
      intelligence or information can be recorded or retrieved including, but not limited to,
  5
  6   documents fixed in tangible media or electronically or digitally stored on disk or tape

  7   in a native format.
  8
             6.     “Electronically stored information” or “ESI” includes all metadata and
  9
      information that is stored in an electronic medium and is retrievable in a perceivable
 10
 11   form including, without limitation, the following:
 12
                    a.      information that is generated, received, processed, and recorded by
 13
      computers and other electronic devices;
 14
 15                 b.      internal or external web sites;
 16                 c.      output resulting from the use of any software program, including,
 17
      without limitation, word processing documents, spreadsheets, database files, charts,
 18

 19
      graphs and outlines, electronic mail, instant messages, text messages, or bulletin board

 20   programs, operating systems, source code, PRF files, PRC files, batch files, ASCII
 21
      files, and all miscellaneous media on which they reside and regardless of whether said
 22
      electronic data exists in an active file, a deleted file, or file fragment;
 23
 24                 d.      activity listings of electronic mail receipts and/or transmittals; and
 25                 e.      any and all items stored on computer memories, hard disks, flash
 26
      drives, cloud-based storage, CD-ROM, DVD-ROM, magnetic tape, or in any other
 27
 28   vehicle for digital data storage or transmittal, such as, but not limited to, a smartphone,
                                                    3            Case No. 2:17-cv-6848-DMG-PLA
       PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS DIRECTED TO COGNIZANT
Case 2:17-cv-06848-DMG-PLA Document 105-4 Filed 11/30/20 Page 4 of 18 Page ID
                                 #:1284



      e.g., iPhone, Android, BlackBerry, or similar device, and file folder tabs, or containers
  1
  2   and labels appended to, or relating to, any physical storage device associated with each
  3   original or copy of all documents requested herein.
  4
            7.     “Employee” means, without limitation, any current or former officer,
  5
  6   director, executive, manager, secretary, staff member, messenger, or agent.

  7         8.     “Including” is used to emphasize certain types of documents requested
  8
      and should not be construed as limiting the request in any way.
  9
            9.     “Or” and “and” should be construed so as to require the broadest possible
 10
 11   response. If, for example, a request calls for information about “A or B” or “A and
 12
      B,” you should produce all information about A and all information about B, as well
 13
      as all information about A and B collectively.
 14
 15         10.    “Person” means, without limitation, any natural person, corporation,
 16   partnership, limited liability company, proprietorship, joint venture, association,
 17
      government entity, group or other form of legal entity.
 18

 19
            11.    “Relating to,” “referring to,” “regarding,” or “with respect to” mean,

 20   without limitation, the following concepts:         discussing, describing, reflecting,
 21
      concerning, dealing with, pertaining to, analyzing, evaluating, estimating, containing,
 22
      constituting, studying, surveying, projecting, assessing, recording, summarizing,
 23
 24   criticizing, reporting, commenting, or otherwise involving, in whole or in part.
 25         12.     “You,” or “your” mean Cognizant.
 26
            13.    “Visa” means any United States-issued visa, including but not limited to
 27
 28   H-1B, B-1, and L-1 visas.
                                                 4               Case No. 2:17-cv-6848-DMG-PLA
       PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS DIRECTED TO COGNIZANT
Case 2:17-cv-06848-DMG-PLA Document 105-4 Filed 11/30/20 Page 5 of 18 Page ID
                                 #:1285



            14.    “Customer” and “client organization” means any entity for which
  1
  2   Cognizant has been retained, or has attempted to be retained, to perform services.
  3         15.    “Potential Hire” means any individual who applied to or otherwise
  4
      contacted Cognizant (or a recruiter), who was contacted by Cognizant (or a recruiter),
  5
  6   or who Cognizant (or a recruiter) researched regarding actual or potential jobs in the

  7   United States with Cognizant or an organization assisting Cognizant with a client
  8
      engagement or otherwise managed by Cognizant (e.g. a staffing company).
  9
            16.    “Bench” means being placed in a non-productive or unallocated status.
 10
 11                                     INSTRUCTIONS
 12
            1.     Unless otherwise noted, the relevant time period of these document
 13
      requests is January 1, 2013 through the present (the “relevant time period”). These
 14
 15   document requests seek all responsive documents created or generated during the
 16   relevant time period, as well as responsive documents created or generated outside the
 17
      relevant time period, but which contain information concerning the relevant time
 18

 19
      period.

 20         2.     Pursuant to Rule 26(e) of the Federal Rules of Civil Procedure, these
 21
      document requests are continuing in nature so that if you subsequently discover or
 22
      obtain possession, custody, or control of any document covered by these requests, you
 23
 24   shall promptly make any such document available to Plaintiffs.
 25         3.     In producing documents, you are to furnish all documents or things in
 26
      your possession, custody or control, regardless of whether such documents are
 27
 28
                                                 5               Case No. 2:17-cv-6848-DMG-PLA
       PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS DIRECTED TO COGNIZANT
Case 2:17-cv-06848-DMG-PLA Document 105-4 Filed 11/30/20 Page 6 of 18 Page ID
                                 #:1286



      possessed directly by you or your employees, agents, parent companies, subsidiaries,
  1
  2   affiliates, investigators or by your attorneys or their employees, agents or investigators.
  3         4.     Pursuant to Rule 34(b) of the Federal Rules of Civil Procedure, all
  4
      documents shall be produced in the same order as they are kept or maintained by you
  5
  6   in the ordinary course of your business. All documents, other than electronically

  7   stored information, shall be produced in the file folder, envelope or other container in
  8
      which the documents are kept or maintained. If for any reason the container cannot
  9
      be produced, you should produce copies of all labels or other identifying marks which
 10
 11   may be present on the container.
 12
            5.     Documents shall be produced in such fashion as to identify the
 13
      department, branch or office in whose possession they were located and, where
 14
 15   applicable, the natural person in whose possession they were found (i.e., the document
 16   custodian) and the business address of each document custodian.
 17
            6.     If a document once existed and subsequently has been lost, destroyed or
 18

 19
      is otherwise missing, you should provide sufficient information to identify the

 20   document and state, in writing, the details, including whether the document:
 21
                   a.     is lost or missing;
 22
                   b.     has been destroyed and, if so, by whom at whose request;
 23
 24                c.     has been transferred or delivered, voluntarily or involuntarily, to
 25   another person or entity and at whose request; or
 26
                   d.     has been otherwise disposed of.
 27
 28
                                                  6              Case No. 2:17-cv-6848-DMG-PLA
       PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS DIRECTED TO COGNIZANT
Case 2:17-cv-06848-DMG-PLA Document 105-4 Filed 11/30/20 Page 7 of 18 Page ID
                                 #:1287



            7.     In each instance in which a document once existed and subsequently is
  1
  2   lost, missing, destroyed, or otherwise disposed of, explain the circumstances
  3   surrounding the disposition of the document, including, but not limited to:
  4
                   a.    the identity of the person or entity who last possessed the
  5
  6   document;

  7                b.    the date or approximate date of the document’s disposition; and
  8
                   c.    the identity of all persons who have or had knowledge of the
  9
      document’s contents.
 10
 11         8.     If any document responsive to any of these requests is privileged, and the
 12
      document or any portion of the document requested is withheld based on a claim of
 13
      privilege pursuant to Rule 26(b)(5) of the Federal Rules of Civil Procedure, provide a
 14
 15   statement of the claim of privilege and all facts relied upon in support of that claim,
 16   including the following information:
 17
                   a.    the reason for withholding the document;
 18

 19
                   b.    the date of such communication;

 20                c.    the medium of such communication;
 21
                   d.    the general subject matter of such communication (such
 22
      description shall not be considered a waiver of your claimed privilege);
 23
 24                e.    the identity of any document that was the subject of such
 25   communication and the present location of any such document;
 26
                   f.    the identity of the persons involved in such communication;
 27
 28
                                                 7               Case No. 2:17-cv-6848-DMG-PLA
       PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS DIRECTED TO COGNIZANT
Case 2:17-cv-06848-DMG-PLA Document 105-4 Filed 11/30/20 Page 8 of 18 Page ID
                                 #:1288



                   g.    the identity of any document which records, refers, or relates to
  1
  2   such communication and present location of any such document; and
  3                h.    the number or numbers of these requests for production of
  4
      documents to which such information is responsive.
  5
  6         9.     Documents attached to one another should not be separated.            Each

  7   document requested should be produced in its entirety and without deletion, redaction
  8
      or excisions, except as qualified by Instruction 8 above, regardless of whether you
  9
      consider the entire document or only part of it to be relevant or responsive to these
 10
 11   document requests. If you have redacted any portion of a document, stamp the word
 12
      “REDACTED” beside the redacted information on each page of the document which
 13
      you have redacted. Any redactions to documents produced should be identified in
 14
 15   accordance with Instruction 8 above.
 16         10.    All documents produced in paper form should be numbered sequentially,
 17
      with a unique number on each page, and with a prefix identifying the party producing
 18

 19
      the document.

 20         11.    Electronically stored information should be produced accordingly to a
 21
      mutually agreed electronic discovery protocol.
 22
            12.    Documents should be organized by the request number to which they
 23
 24   respond.
 25
 26
 27
 28
                                                 8               Case No. 2:17-cv-6848-DMG-PLA
       PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS DIRECTED TO COGNIZANT
Case 2:17-cv-06848-DMG-PLA Document 105-4 Filed 11/30/20 Page 9 of 18 Page ID
                                 #:1289



                                   DOCUMENT REQUESTS
  1
      Request No. 1
  2
      For each Cognizant employee who worked in the United States at any point between
  3
  4   January 1, 2013 and the present, documents and ESI sufficient to show the employee’s
  5   name, employee number, race, national origin, citizenship, visa type (if any), country
  6
      of hire, each position held by the employee in the United States and abroad (by date),
  7
  8   each job level in the United States and abroad (by date), each project the employee

  9   worked on in the United States and abroad (by client, location, and date), each
 10
      unallocated (i.e., “benched”) period in the United States and abroad (by location and
 11
      date), gross pay by year while in the U.S., and termination date (if terminated), reason
 12
 13   for termination (if terminated), and location at time of termination (if terminated).
 14   Request No. 2
 15
      Documents and ESI sufficient to show each individual who applied to Cognizant
 16
 17   (either directly or through a third party recruiter or headhunter) for a position in the

 18   United States between January 1, 2013 and the present, including for each such
 19
      individual, the individual’s name, the name of the third party recruiter or headhunter
 20
      who submitted the individual (if any), applicant number, requisition/job opening
 21
 22   number, position or positions applied to or considered for, the individual’s race,
 23
      national origin, citizenship, visa type (if any), and whether or not the individual was
 24
      hired.
 25
 26
 27
 28
                                                 9               Case No. 2:17-cv-6848-DMG-PLA
       PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS DIRECTED TO COGNIZANT
Case 2:17-cv-06848-DMG-PLA Document 105-4 Filed 11/30/20 Page 10 of 18 Page ID
                                  #:1290



      Request No. 3
  1
  2   Documents and ESI reflecting instructions or guidance given to Cognizant’s recruiters
  3   (both internal and third party recruiters) relating to how to search for individuals for
  4
      U.S. positions, who to contact for positions in the U.S., and whether to favor or
  5
  6   disfavor any individuals or groups.

  7   Request No. 4
  8
      Documents and ESI relating to the staffing of Cognizant’s actual or prospective
  9
      customer projects in the United States, including but not limited to any instructions or
 10
 11   guidance concerning staffing an actual or prospective customer project with a non-
 12
      visa-dependent or a visa-dependent Cognizant employee, the securing of visas to staff
 13
      projects, the availability of visa-dependent Cognizant employees overseas, on the
 14
 15   bench, or on another project, the availability of non-visa-dependent Cognizant
 16   employees on the bench or on another project, or the displacement and/or outsourcing
 17
      of the customer’s workforce to Cognizant (including, e.g., the performance of any
 18

 19
      knowledge transfer from the customer’s workforce to Cognizant’s workforce).

 20   Request No. 5
 21
      Documents and ESI relating to all instructions, policies, directives, or mandates
 22
      concerning United States positions or individuals placed or considering for United
 23
 24   States positions, including, but not limited to instructions, policies, directives, or
 25   mandates concerning recruiting, hiring, staffing, visa utilization, visa procurement,
 26
      assignments, benching, promotions, demotions, and terminations.
 27
 28   Request No. 6
                                                 10              Case No. 2:17-cv-6848-DMG-PLA
       PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS DIRECTED TO COGNIZANT
Case 2:17-cv-06848-DMG-PLA Document 105-4 Filed 11/30/20 Page 11 of 18 Page ID
                                  #:1291



      Documents and ESI relating to complaints or grievances lodged by, or
  1
  2   communications by, applicants and/or current or former employees of Cognizant in
  3   the U.S. concerning discrimination, including the complaints, grievances, or
  4
      communications themselves, as well as any materials created during any subsequent
  5
  6   internal investigation stemming therefrom, and any materials filed in any subsequent

  7   agency action, litigation, arbitration, or mediation.
  8
      Request No. 7
  9
      Documents and ESI relating to any federal or state government investigation or inquiry
 10
 11   concerning Cognizant’s visas practices, Cognizant’s hiring practices for positions
 12
      located in the United States, Cognizant’s employment practices in the United States,
 13
      and/or discrimination, including, but not limited to documents provided to or received
 14
 15   from the government, documents reflecting testimony, correspondence regarding the
 16   investigation or inquiry, and fines paid to or settlement with the government.
 17
      Request No. 8
 18

 19
      Documents and ESI relating to business plans regarding the staffing of U.S. positions,

 20   including but not limited to the use of visa-dependent workers to staff such positions
 21
      and the procurement of visas for such workers.
 22
      Request No. 9
 23
 24   Documents and ESI relating to invitation letters, including, but not limited to, the
 25   invitation letters, communications within Cognizant relating to invitation letters, and
 26
      communications between Cognizant and any third party relating to invitation letters.
 27
 28   Request No. 10
                                                 11              Case No. 2:17-cv-6848-DMG-PLA
       PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS DIRECTED TO COGNIZANT
Case 2:17-cv-06848-DMG-PLA Document 105-4 Filed 11/30/20 Page 12 of 18 Page ID
                                  #:1292



      Documents sufficient to show the organization structure (e.g., organizational charts)
  1
  2   of departments, groups, and executives that have any responsibility for Cognizant’s
  3   United States operations, including departments, groups, and executives in India
  4
      responsible for visa procurement, hiring, staffing, promotions, or terminations.
  5
  6   Request No. 11

  7   Documents sufficient to show, by year, Cognizant’s revenue, margins, and payroll for
  8
      its business in the United States, and worldwide.
  9
      Request No. 12
 10
 11   Documents and ESI reflecting all policies and procedures for Cognizant’s human
 12
      resources department, any department involved in hiring for U.S. positions, any
 13
      department involved in the termination of employees in the U.S., any department
 14
 15   involved in allocating staff for U.S. positions, any department involved in benching or
 16   staffing individuals from the bench, any department involved in promotions for
 17
      employees in the U.S., and any department involved in applying for, budgeting for, or
 18

 19
      tracking the status of U.S. visas.

 20   Request No. 13
 21
      Documents and ESI relating to any affirmative action plans, including but not limited
 22
      to, the affirmative action plans, all documents and ESI collected to create or implement
 23
 24   the affirmative action plans, all documents and ESI provided to or obtained from any
 25   vendor involved in the creation or implementation of the affirmative action plans, and
 26
      all communications concerning the affirmative action plans, and documents and ESI
 27
 28
                                                 12              Case No. 2:17-cv-6848-DMG-PLA
       PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS DIRECTED TO COGNIZANT
Case 2:17-cv-06848-DMG-PLA Document 105-4 Filed 11/30/20 Page 13 of 18 Page ID
                                  #:1293



      reflecting or relating to Cognizant’s success or failure in meeting any affirmative
  1
  2   action goals.
  3   Request No. 14
  4
      For employees located in the U.S. between 2013 and the present, produce all
  5
  6   performance reviews, performance improvement plans, appraisal scores, and any

  7   objections or complaints by employees regarding performance, performance
  8
      improvement plans, appraisal scores, promotions, or terminations.
  9
      Request No. 15
 10
 11   Documents and ESI relating to or identified in your responses or supplemental
 12
      responses to any interrogatories or requests for admission issued to Cognizant by
 13
      Plaintiffs.
 14
 15   Request No. 16
 16   All communications, other than communications with counsel, relating to this lawsuit,
 17
      Palmer v. Cognizant Tech. Solutions Corp. & Cognizant Tech. Solutions U.S. Corp.,
 18

 19
      No. 2:17-cv-06848 (C.D. Cal.).

 20   Request No. 17
 21
      Documents and ESI relating to each denial and affirmative defense raised in
 22
      Cognizant’s Answer (including any amended Answer).
 23
 24   Request No. 18
 25   All documents and ESI identified in Cognizant’s initial disclosures (including any
 26
      supplement thereto).
 27
 28   Request No. 19
                                                 13              Case No. 2:17-cv-6848-DMG-PLA
       PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS DIRECTED TO COGNIZANT
Case 2:17-cv-06848-DMG-PLA Document 105-4 Filed 11/30/20 Page 14 of 18 Page ID
                                  #:1294



      All documents and ESI obtained pursuant to a subpoena issued in this lawsuit.
  1
  2   Request No. 20
  3   All documents and ESI obtained from any third party relating to this lawsuit (whether
  4
      or not the documents and ESI were obtained pursuant to a subpoena), including but
  5
  6   not limited to documents relating to any named plaintiffs, documents relating to any

  7   class members (including putative class members), documents relating to any claims
  8
      asserted in this lawsuit, or documents relating to any defenses asserted in this lawsuit.
  9
      Request No. 21
 10
 11   Documents and ESI reflecting any reports or demographic data provided to any state
 12
      or federal equal employment opportunity agency, including but not limited to the U.S.
 13
      EEOC.
 14
 15   Request No. 22
 16   For each year from 2013 through present, documents sufficient to show: (a) the
 17
      number of visas Cognizant applied for by visa type (e.g., H-1B, L-1A, L-1B, B1, etc.);
 18

 19
      (b) the number of visas approved by visa type (e.g., H-1B, L-1A, L-1B, B1, etc.); and

 20   (c) the number and country of origin of visa-dependent employees that traveled to the
 21
      United States to work for Cognizant.
 22
      Request No. 23
 23
 24   Documents sufficient to show the names of all staffing agencies/vendors who have
 25   submitted Potential Hires to Cognizant, the names of Potential Hires submitted to
 26
      Cognizant and the name of the agency/vendor submitting each Potential Hire, and the
 27
 28   names of the Cognizant employees to whom the Potential Hires were submitted.
                                                 14              Case No. 2:17-cv-6848-DMG-PLA
       PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS DIRECTED TO COGNIZANT
Case 2:17-cv-06848-DMG-PLA Document 105-4 Filed 11/30/20 Page 15 of 18 Page ID
                                  #:1295



      Request No. 24
  1
  2   Documents and ESI relating to Christy Palmer, including but not limited to Ms.
  3   Palmer’s complete employee file, all documents: related to Ms. Palmer’s interest in
  4
      employment at Cognizant or applications to Cognizant or interest in or applications to
  5
  6   Cognizant client projects, related to Ms. Palmer’s compensation and benefits package

  7   with Cognizant, related to Ms. Palmer’s termination of her employment with
  8
      Cognizant, related to Ms. Palmer’s performance, related to any promotion Ms. Palmer
  9
      sought or was considered for, related to Ms. Palmer’s employment agreements,
 10
 11   policies, handbooks, or acknowledgments provided to or signed by Ms. Palmer, related
 12
      to Ms. Palmer’s work allocation or unallocation, and related to Ms. Palmer’s race or
 13
      national origin and/or the race or national origin of Ms. Palmer’s colleagues or other
 14
 15   applicants to the positions for which Ms. Palmer applied or was considered.
 16   Request No. 25
 17
      Documents and ESI relating to Vartan Piroumian, including but not limited to Mr.
 18

 19
      Piroumian’s complete employee file, all documents: related to Mr. Piroumian’s

 20   interest in employment at Cognizant or application to Cognizant or interest in or
 21
      applications to Cognizant client projects, related to Mr. Piroumian’s compensation and
 22
      benefits package with Cognizant, related to Mr. Piroumian’s termination from
 23
 24   Cognizant, related to Mr. Piroumian’s performance, related to any promotion Mr.
 25   Piroumian sought or was considered for, related to Mr. Piroumian’s employment
 26
      agreements, policies, handbooks, or acknowledgments provided to or signed by Mr.
 27
 28   Piroumian, related to Mr. Piroumian’s work allocation or unallocation, and related to
                                                 15              Case No. 2:17-cv-6848-DMG-PLA
       PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS DIRECTED TO COGNIZANT
Case 2:17-cv-06848-DMG-PLA Document 105-4 Filed 11/30/20 Page 16 of 18 Page ID
                                  #:1296



      Mr. Piroumian’s race or national origin and/or the race or national origin of Mr.
  1
  2   Piroumian’s colleagues or other applicants to the positions for which Mr. Piroumian
  3   applied or was considered.
  4
      Request No. 26
  5
  6   Documents and ESI relating to Edward Cox, including but not limited to Mr. Cox’s

  7   complete employee file, all documents: related to Mr. Piroumian’s interest in
  8
      employment at Cognizant or application (or subsequent re-application) to Cognizant
  9
      or interest in or applications to Cognizant client projects, related to Mr. Cox’s
 10
 11   compensation and benefits package with Cognizant, related to Mr. Cox’s termination
 12
      from Cognizant, related to Mr. Cox’s performance, related to any promotion Mr. Mr.
 13
      Cox sought or was considered for, related to Mr. Mr. Cox’s employment agreements,
 14
 15   policies, handbooks, or acknowledgments provided to or signed by Mr. Mr. Cox,
 16   related to Mr. Mr. Cox’s work allocation or unallocation, and related to Mr. Mr. Cox’s
 17
      race or national origin and/or the race or national origin of Mr. Mr. Cox’s colleagues
 18

 19
      or other applicants to the positions for which Mr. Mr. Cox applied or was considered.

 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                 16              Case No. 2:17-cv-6848-DMG-PLA
       PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS DIRECTED TO COGNIZANT
Case 2:17-cv-06848-DMG-PLA Document 105-4 Filed 11/30/20 Page 17 of 18 Page ID
                                  #:1297



      DATED: January 14, 2019                Respectfully Submitted,
  1
  2                                          By: Daniel Low
                                             Daniel Low, SBN 218387
  3                                          Daniel Kotchen (pro hac vice)
  4                                          Michael von Klemperer (pro hac vice)
                                             KOTCHEN & LOW LLP
  5                                          1745 Kalorama Road NW, Suite 101
  6                                          Washington, D.C. 20009
                                             (202) 471-1995
  7                                          (202) 280-1128 (fax)
  8                                          dlow@kotchen.com;
                                             dkotchen@kotchen.com;
  9                                          mvk@kotchen.com
 10
                                             Attorneys for Plaintiffs
 11
 12
 13
 14
 15
 16
 17
 18

 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                 17              Case No. 2:17-cv-6848-DMG-PLA
       PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS DIRECTED TO COGNIZANT
Case 2:17-cv-06848-DMG-PLA Document 105-4 Filed 11/30/20 Page 18 of 18 Page ID
                                  #:1298



                                CERTIFICATE OF SERVICE
  1
  2         I hereby certify that on January 14, 2019, the foregoing was served on
  3   Defendants Cognizant Technology Solutions Corporation and Cognizant Technology
  4
      Solutions U.S. Corporation’s counsel of record via email:
  5
  6   Theodore J. Boutrous, Jr.
      tboutrous@gibsondunn.com
  7
  8   Katherine V.A. Smith
      ksmith@gibsondunn.com
  9
      Lauren M. Blas
 10
      lblas@gibsondunn.com
 11
      Michele L. Maryott
 12
      mmaryott@gibsondunn.com
 13
      Matthew T. Sessions
 14   msessions@gibsondunn.com
 15
                                                      By: /s/Daniel Low
 16                                                   Daniel Low, SBN 218387
 17                                                   KOTCHEN & LOW LLP
                                                      1745 Kalorama Road NW, Suite 101
 18                                                   Washington, D.C. 20009
 19
                                                      (202) 471-1995
                                                      (202) 280-1128 (fax)
 20                                                   dlow@kotchen.com
 21
                                                      Attorney for Plaintiffs
 22
 23
 24
 25
 26
 27
 28
                                                 18              Case No. 2:17-cv-6848-DMG-PLA
       PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS DIRECTED TO COGNIZANT
